Case No. 1:21-cv-03384-PAB-MEH Document 29 filed 07/22/22 USDC Colorado pg 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   PUBLIC INTEREST LEGAL FOUNDATION, INC.,

                                                       Plaintiff,
      v.

   JENA GRISWOLD, in her official capacity as                       Civil Case No. 1:21-cv-03384-
   Secretary of State for the State of Colorado,                    PAB-MEH

                                                     Defendant.


                  PLAINTIFF’S MOTION FOR LEAVE TO FILE SUR-REPLY

           Plaintiff Public Interest Legal Foundation, Inc. (“Foundation”) respectfully moves for

  leave to file the attached surreply. The information presented by the proposed surreply was not

  available to the Foundation at the time the Foundation filed its response to Defendant’s motion to

  dismiss (Doc. 25, filed May 2, 2022). The information presented is generally relevant to

  Defendant’s position that the ERIC Deceased Reports are not public records under the NVRA

  and specifically two of Defendant’s primary defenses: that the Foundation’s claim conflicts with

  (1) the Driver’s Privacy Protection Act (Doc. 23 at 11-14; Doc. 28 at 3-11) and (2) federal laws

  governing the Limited Access Death Master File (Doc. 23 at 9-11; Doc. 28 at 3-11). For these

  reasons, good cause to grant this motion exists.

           Prior to filing this motion, the Foundation’s counsel conferred with Defendant’s counsel.

  D.C. Colo. LCivR 7.1(a). Defendant opposes the relief requested by this Motion.




                                                1
Case No. 1:21-cv-03384-PAB-MEH Document 29 filed 07/22/22 USDC Colorado pg 2 of 3




  Dated: July 22, 2022.

  For the Plaintiff Public Interest Legal Foundation:

                                                  /s/ Noel H. Johnson
                                               Noel H. Johnson*
                                               Kaylan L. Phillips*
                                               PUBLIC INTEREST LEGAL FOUNDATION
                                               32 E. Washington St., Ste. 1675
                                               Indianapolis, IN 46204
                                               Tel: (317) 203-5599
                                               Fax: (888) 815-5641
                                               njohnson@PublicInterestLegal.org
                                               kphillips@PublicInterestLegal.org
                                               * Admitted to the bar of the U.S. District Court for
                                               the District of Colorado

                                               Attorneys for Plaintiff Public Interest Legal
                                               Foundation




                                               2
Case No. 1:21-cv-03384-PAB-MEH Document 29 filed 07/22/22 USDC Colorado pg 3 of 3




                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 22, 2022, I electronically filed the foregoing using the

  Court’s ECF system, which will serve notice on all parties.


                                                 /s/ Noel H. Johnson
                                                Noel H. Johnson
                                                Counsel for Plaintiff
                                                njohnson@PublicInterestLegal.org




                                               3
